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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
NORTH STAR HOLDINGS, LLC,                                     :
                                             Plaintiff,       :   22 Civ. 7324 (LGS)
                                                              :
                           -against-                          :        ORDER
                                                              :
ICON TRADE SERVICES, LLC,                                     :
                                             Defendant. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, an initial conference was held on October 26, 2022. For the reasons

discussed at that conference, it is hereby

          ORDERED that discovery in this case will be bifurcated. The first phase of discovery

will concern Plaintiff’s affirmative claims for relief, Defendant’s first counterclaim for a

declaratory judgment, and Defendant’s affirmative defenses. Discovery as to Defendant’s

remaining counterclaims is stayed pending completion of the first phase of discovery and

resolution of any dispositive motions filed regarding the first phase of discovery. A case

management plan will issue separately. It is further

          ORDERED that Counter-Defendants’ shall answer Defendant’s counterclaims and third-

party claims by November 4, 2022. It is further

          ORDERED that the parties shall file a joint letter by November 2, 2022, regarding

settlement discussions and the identity of an agreed-upon mediator. If the parties would like a

referral for settlement discussions with Magistrate Judge Stewart Aaron, they shall so state in the

letter.

Dated: October 27, 2022
       New York, New York
